                 EXHIBIT A




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     Title                               BCGID        Plaintiff                            Registration No.
1    7 RINGS                             BCG_ID_11209 Concord Music Group, Inc.            PA0002187265
2    CENTURIES                           BCG_ID_12110 Concord Music Group, Inc.            PA0001961647
3    DANCING WITH A STRANGER             BCG_ID_12076 Concord Music Group, Inc.            PA0002185007
4    DIAMONDS                            BCG_ID_12117 Concord Music Group, Inc.            PA0001845153
5    DIE YOUNG                           BCG_ID_12116 Concord Music Group, Inc.            PA0001850818
6    DONTTRUSTME                         BCG_ID_12128 Concord Music Group, Inc.            PA0001653773
7    DUSK TILL DAWN                      BCG_ID_12090 Concord Music Group, Inc.            PA0002185366
8    GRENADE                             BCG_ID_12124 Concord Music Group, Inc.            PA0002182938
9    HALO                                BCG_ID_11201 Concord Music Group, Inc.            PA0001642019; PA0001682642
10   HIPS DON'T LIE                      BCG_ID_12129 Concord Music Group, Inc.            PA0001367687; PAu003149121
11   KICKSTART MY HEART                  BCG_ID_11213 Concord Music Group, Inc.            PA0000440232
12   LAST FRIDAY NIGHT (T.G.I.F.)        BCG_ID_12125 Concord Music Group, Inc.            PA0001711655; PA0001396980;
                                                                                           PA0001753637
13   LOVE YOU LIKE A LOVE SONG           BCG_ID_12122 Concord Music Group, Inc.            PA0001869961
14   MAPS                                BCG_ID_12111 Concord Music Group, Inc.            PA0001947799
15   MARRY ME                            BCG_ID_12088 Concord Music Group, Inc.            PA0002120132; PA0002138910;
                                                                                           PA0002130922
16   ME AND MY BROKEN HEART              BCG_ID_12113 Concord Music Group, Inc.            PA0001959686
17   MEANT TO BE                         BCG_ID_12091 Concord Music Group, Inc.            PA0002105522
18   NOTHING BREAKS LIKE A HEART         BCG_ID_12078 Concord Music Group, Inc.            PA0002182042
19   ROAR                                BCG_ID_12114 Concord Music Group, Inc.            PA0001860200
20   RUMOUR HAS IT                       BCG_ID_11202 Concord Music Group, Inc.            PA0001738213
21   SOMEBODY ELSE                       BCG_ID_11203 Concord Music Group, Inc.            PA0002015511
22   TIK TOK                             BCG_ID_12127 Concord Music Group, Inc.            PA0001688442
23   TIME AFTER TIME                     BCG_ID_12132 Concord Music Group, Inc.            PA0000238686; PA0000299757
24   TURNING TABLES                      BCG_ID_11204 Concord Music Group, Inc.            PA0001738213
25   UNSTOPPABLE                         BCG_ID_11205 Concord Music Group, Inc.            PA0002134877
26   UPTOWN FUNK                         BCG_ID_12108 Concord Music Group, Inc.            PA0001938200
27   WHAT A WONDERFUL WORLD              BCG_ID_12130 Concord Music Group, Inc.            EU0000010029; RE0000689584;
                                                                                           RE0000704744
28   ADORE YOU                           BCG_ID_12072 Concord Music Group, Inc.; Polygram PA0002250803; PA0002265129
                                                      Publishing, Inc.
29   BLEEDING LOVE                       BCG_ID_11198 Concord Music Group, Inc.; Universal PA0001613694
                                                      Music Corp.
30   CALIFORNIA GURLS                    BCG_ID_12126 Concord Music Group, Inc.; Universal PA0001711654; PA0001396981;
                                                      Music Corp.                          PA0001734423
31   GOLDEN                              BCG_ID_11258 Concord Music Group, Inc.; Polygram PA0002250726; PA0002265133
                                                      Publishing, Inc.
32   HUMBLE AND KIND                     BCG_ID_12102 Concord Music Group, Inc.; Songs Of PA0002032466; PA0002130282
                                                      Universal, Inc.
33   MOVES LIKE JAGGER                   BCG_ID_12121 Concord Music Group, Inc.; Universal PA0001801572
                                                      Music - Z Tunes LLC
34   PAYPHONE                            BCG_ID_12118 Concord Music Group, Inc.; Universal PA0001824573; PA0001849242
                                                      Music - Z Tunes LLC
35   SIGN OF THE TIMES                   BCG_ID_11246 Concord Music Group, Inc.; Universal PA0002085488
                                                      Music Corp.
36   STAY                                BCG_ID_11217 Concord Music Group, Inc.; Songs Of PA0002316799; PA0002345926;
                                                      Universal, Inc.                      PA0002370561
37   STEREO HEARTS                       BCG_ID_12120 Concord Music Group, Inc.; Universal PA0001806415
                                                      Music - Z Tunes LLC
38   WANNABE                             BCG_ID_11221 Concord Music Group, Inc.; Polygram PA0000823685
                                                      Publishing, Inc.
39   WATERMELON SUGAR                    BCG_ID_12073 Concord Music Group, Inc.; Polygram PA0002250681; PA0002265071
                                                      Publishing, Inc.




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     Title                                BCGID        Plaintiff                              Registration No.
40   WE BUILT THIS CITY                   BCG_ID_11218 Concord Music Group, Inc.; Universal   PA0000265529; PA0000264311
                                                       Music - MGB NA LLC
41   A CHANGE IS GONNA COME               BCG_ID_11138 ABKCO Music, Inc.                      EU0000816632; RE0000570151
42   ANOTHER SATURDAY NIGHT               BCG_ID_12140 ABKCO Music, Inc.                      EU0000766723; RE0000516155
43   BITTERSWEET SYMPHONY                 BCG_ID_11135 ABKCO Music, Inc.                      PAu002199365
44   BRING IT ON HOME TO ME               BCG_ID_12144 ABKCO Music, Inc.                      EU0000719893; RE0000475464;
                                                                                              EP0000166883; RE0000475432
45   BROWN SUGAR                          BCG_ID_12145 ABKCO Music, Inc.                      EU0000235987
46   CUPID                                BCG_ID_12151 ABKCO Music, Inc.                      EU0000668349; RE0000446794
47   DEAD FLOWERS                         BCG_ID_11139 ABKCO Music, Inc.                      EP0000289677
48   GIMME SHELTER                        BCG_ID_12159 ABKCO Music, Inc.                      EU0000154592
49   HONKY TONK WOMEN                     BCG_ID_12163 ABKCO Music, Inc.                      EU0000125715
50   IT'S ALL OVER NOW                    BCG_ID_12167 ABKCO Music, Inc.                      EU0000824981; RE0000570496
51   JUMPIN' JACK FLASH                   BCG_ID_12172 ABKCO Music, Inc.                      EU0000053487
52   MAMA SAID                            BCG_ID_11143 ABKCO Music, Inc.                      EU0000655257; RE0000446770
53   MOONLIGHT MILE                       BCG_ID_12182 ABKCO Music, Inc.                      EP0000289679
54   PLAY WITH FIRE                       BCG_ID_11145 ABKCO Music, Inc.                      EU0000874314; PAu001489708
55   SALT OF THE EARTH, THE               BCG_ID_12191 ABKCO Music, Inc.                      EU0000084522
56   SHE'S A RAINBOW                      BCG_ID_11147 ABKCO Music, Inc.                      EU0000031919
57   SHINE A LIGHT                        BCG_ID_12194 ABKCO Music, Inc.                      EU0000326812
58   STREET FIGHTING MAN                  BCG_ID_12201 ABKCO Music, Inc.                      EU0000070720
59   SYMPATHY FOR THE DEVIL               BCG_ID_12204 ABKCO Music, Inc.                      EU0000075421
60   TWISTIN' THE NIGHT AWAY              BCG_ID_11151 ABKCO Music, Inc.                      EU0000701315; RE0000475433
61   WILD HORSES                          BCG_ID_12213 ABKCO Music, Inc.                      EU0000180744
62   WONDERFUL WORLD                      BCG_ID_11152 ABKCO Music, Inc.                      EU0000567694; RE0000361641
63   YOU CAN'T ALWAYS GET WHAT YOU        BCG_ID_12216 ABKCO Music, Inc.                      EU0000099333
     WANT
64   YOU SEND ME                          BCG_ID_11154 ABKCO Music, Inc.                    EU0000491316; RE0000233851
65   WE BELONG TOGETHER                   BCG_ID_12212 ABKCO Music, Inc.; Universal Music - PA0001162027; PA0001163150
                                                       MGB NA LLC
66   (SITTIN' ON) THE DOCK OF THE BAY     BCG_ID_10330 Universal Music Corp.                EU0000033492; RE0000760653;
                                                                                            PAu002069906
67   10,000 REASONS (BLESS THE LORD)      BCG_ID_12457 Capitol CMG, Inc.                    PA0001751588
68   A BEAUTIFUL LIE                      BCG_ID_10503 Universal Music - Z Tunes LLC        PA0001630062
69   A FOREST                             BCG_ID_10109 Universal Music - MGB NA LLC         PA0000194922
70   A PLACE FOR MY HEAD                  BCG_ID_10459 Universal Music - Z Tunes LLC        PA0001092514
71   A THOUSAND MILES                     BCG_ID_10545 Songs of Universal, Inc.             PA0001102367
72   ACHY BREAKY HEART                    BCG_ID_10124 Polygram Publishing, Inc.            PA0000534864
73   AIN'T NO SUNSHINE                    BCG_ID_10120 Songs of Universal, Inc.             EU0000243844; RE0000827146
74   AJA                                  BCG_ID_10433 Universal Music Corp.                EU0000811347; RE0000910216
75   ALL ALONG THE WATCHTOWER             BCG_ID_10706 Songs of Universal, Inc.             EU0000032648; RE0000739070
76   ALL I REALLY WANT TO DO              BCG_ID_10922 Songs of Universal, Inc.             EU0000848258; RE0000588423;
                                                                                            EP0000195706; RE0000588403
77   ALL I WANTED                         BCG_ID_12462 Capitol CMG, Inc.                    PA0001676908
78   ALWAYS                               BCG_ID_11495 Universal Music Corp.                PA0001243938
79   ALWAYS                               BCG_ID_12464 Capitol CMG, Inc.                    PA0001766253
80   AMERICAN GIRL                        BCG_ID_10449 Universal Music Corp.                EU0000721156; RE0000890825
81   AMERICAN PIE                         BCG_ID_10414 Songs of Universal, Inc.             EU0000284299; RE0000803730
82   ANACONDA                             BCG_ID_11275 Songs of Universal, Inc.             PA0002062630
83   ANARCHY IN THE U.K.                  BCG_ID_11647 Universal Music - MGB NA LLC;        EU0000853584; PAu001125351;
                                                       Polygram Publishing, Inc.            RE0000932107; PA0000369943
84   AND I AM TELLING YOU I'M NOT GOING   BCG_ID_10141 Universal Music Corp.; Songs of      PAu000365845; PAu000395732;
                                                       Universal, Inc.                      PAu000440080
85   AND I LOVE YOU SO                    BCG_ID_10028 Songs of Universal, Inc.             EU0000201220; RE0000771158;
                                                                                            EP0000311666; RE0000829100



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     Title                              BCGID        Plaintiff                              Registration No.
86   ANGEL                              BCG_ID_11557 Polygram Publishing, Inc.              PA0000342822
87   ANGEL EYES                         BCG_ID_11811 Universal Music - MGB NA LLC           PA0000385332
88   ANGELES                            BCG_ID_11601 Universal Music - MGB NA LLC           PA0000859623
89   ANGELS                             BCG_ID_11841 Polygram Publishing, Inc.              PA0001816076
90   ANY MAJOR DUDE WILL TELL YOU       BCG_ID_10794 Universal Music Corp.                  EU0000469050; RE0000854810
91   AS THE DEER                        BCG_ID_12467 Universal Music - Z Tunes LLC          PA0000315393
92   AT THE CROSS (LOVE RAN RED)        BCG_ID_12468 Capitol CMG, Inc.; Universal Music - Z PA0001910159
                                                     Tunes LLC
93 ATTACK                               BCG_ID_11875 Universal Music - Z Tunes LLC          PA0001630069
94 AWAKE MY SOUL                        BCG_ID_10632 Polygram Publishing, Inc.              PA0001932490
95 AWAY FROM THE SUN                    BCG_ID_10977 Songs of Universal, Inc.               PA0001120567
96 BABY BABY                            BCG_ID_12323 Universal Music - Z Tunes LLC          PA0000512809
97 BACK AT ONE                          BCG_ID_10468 Polygram Publishing, Inc.              PA0001203871
98 BALLAD OF A THIN MAN                 BCG_ID_10858 Songs of Universal, Inc.               EU0000903127; RE0000647444
99 BALLROOM BLITZ                       BCG_ID_10309 Universal Music - MGB NA LLC           PAu000066844
100 BARRACUDA                           BCG_ID_10194 Universal Music Corp.; Universal       EU0000791168; RE0000910167;
                                                     Music - MGB NA LLC                     EU0000789263; RE0000910161
101 BEAUTIFUL THINGS                    BCG_ID_12471 Capitol CMG, Inc.                      PA0001734874
102 BECAUSE I GOT HIGH                  BCG_ID_10103 Universal Music Corp.                  PA0001123416
103 BENNIE AND THE JETS                 BCG_ID_11254 Polygram Publishing, Inc.              EFO000170947; RE0000838312
104 BEST THING THAT EVER HAPPENED TO ME BCG_ID_11019 Polygram Publishing, Inc.              EU0000376780; RE0000823172

105 BLEED IT OUT                           BCG_ID_10726 Universal Music - Z Tunes LLC      PA0001602887; PA0001167572
106 BLEEDING OUT                           BCG_ID_11418 Songs of Universal, Inc.           PA0001816018
107 BLESS THE BROKEN ROAD                  BCG_ID_11329 Universal Music - MGB NA LLC       PA0000734451
108 BLOWIN' IN THE WIND                    BCG_ID_10895 Songs of Universal, Inc.           EU0000731107; RE0000481471
109 BODHISATTVA                            BCG_ID_11878 Universal Music Corp.              EU0000416548; RE0000837424
110 BONFIRE                                BCG_ID_11046 Songs of Universal, Inc.           PA0001773709
111 BOOGIE WOOGIE BUGLE BOY                BCG_ID_11468 Universal Music Corp.              EU0000238602; R00000425178
112 BORN TO BE WILD                        BCG_ID_10574 Songs of Universal, Inc.           EU0000035989; RE0000722455
113 BOYS DON'T CRY                         BCG_ID_10571 Universal Music - MGB NA LLC       PA0000205033
114 BREAK STUFF                            BCG_ID_11316 Universal Music - Z Tunes LLC      PA0001021053
115 BREAKFAST IN AMERICA                   BCG_ID_10402 Universal Music Corp.              PA0000032062
116 BREAKING THE HABIT                     BCG_ID_10392 Universal Music - Z Tunes LLC      PA0001256418
117 BREAKING UP IS HARD TO DO              BCG_ID_11675 Universal Music - MGB NA LLC       EP0000165278; RE0000501238;
                                                                                           RE0000491450; EU0000724459;
                                                                                           RE0000491465; RE0000501221
118 BREATHE ME                             BCG_ID_11649 Universal Music - MGB NA LLC       PA0001164903; PA0001338526
119 BREATHING                              BCG_ID_11977 Universal Music - MGB NA LLC       PA0001158186
120 BRIMFUL OF ASHA                        BCG_ID_11749 Polygram Publishing, Inc.          PA0000988476
121 BUILD MY LIFE                          BCG_ID_12328 Capitol CMG, Inc.                  PA0002076039
122 BURN IT DOWN                           BCG_ID_10709 Universal Music - Z Tunes LLC      PA0001805742
123 BURNING IN THE SKIES                   BCG_ID_12031 Universal Music - Z Tunes LLC      PA0001725616
124 BY MYSELF                              BCG_ID_10615 Universal Music - Z Tunes LLC      PA0001092512
125 CALIFORNIA DREAMIN'                    BCG_ID_10075 Universal Music Corp.              EU0000918773; RE0000635860
126 CALIFORNIA GIRLS                       BCG_ID_10631 Universal Music Corp.              EU0000890216; RE0000610581;
                                                                                           PAu002079518; EU0000212915;
                                                                                           RE0000775518; PAu002079809
127 CAN'T GET YOU OUT OF MY HEAD           BCG_ID_11441 Universal Music Corp.              PA0001136727
128 CANDLE IN THE WIND                     BCG_ID_11337 Polygram Publishing, Inc.          EFO000170947; RE0000838312
129 CASTLE OF GLASS                        BCG_ID_10820 Universal Music - Z Tunes LLC      PA0001805745
130 CHASING CARS                           BCG_ID_10670 Polygram Publishing, Inc.          PA0001990266
131 CHEEK TO CHEEK                         BCG_ID_10663 Universal Music Corp.              EU0000097144; R000000289527
132 CHILDREN'S STORY                       BCG_ID_11127 Songs of Universal, Inc.           PA0000449656
133 CHRISTMAS LIGHTS                       BCG_ID_11762 Universal Music - MGB NA LLC       PA0001969616
134 CLOSER                                 BCG_ID_11364 Universal Music - Z Tunes LLC      PA0001395685


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    Title                                  BCGID        Plaintiff                             Registration No.
135 CLOSER TO FINE                         BCG_ID_10570 Songs of Universal, Inc.              PA0000451204
136 COLORS                                 BCG_ID_10245 Songs of Universal, Inc.              PA0002059980
137 COME AS YOU ARE                        BCG_ID_12486 Capitol CMG, Inc.                     PA0001910192
138 COME SAIL AWAY                         BCG_ID_10991 Universal Music Corp.                 EU0000828640; RE0000910690
139 COMING HOME                            BCG_ID_11298 Songs of Universal, Inc.; Universal   PA0001751168
                                                        Music - Z Tunes LLC
140 CONTROL                                BCG_ID_11401 Songs of Universal, Inc.              PA0002060006
141 COPACABANA                             BCG_ID_10069 Songs of Universal, Inc.; Universal   PAu000009986
                                                        Music - MGB NA LLC
142 COSMIC LOVE                            BCG_ID_10902 Polygram Publishing, Inc.             PA0001892799
143 COURT OF THE CRIMSON KING              BCG_ID_10509 Universal Music - MGB NA LLC          EU0000148405; RE0000755409
144 COWARD OF THE COUNTY                   BCG_ID_10347 Universal Music Corp.; Universal      PA0000039661
                                                        Music - MGB NA LLC
145 CRAWLING                               BCG_ID_10962 Universal Music - Z Tunes LLC         PA0001092510
146 CROCODILE ROCK                         BCG_ID_11248 Polygram Publishing, Inc.             EFO000159444; RE0000822540
147 CRUEL TO BE KIND                       BCG_ID_11913 Universal Music - MGB NA LLC          PA0000022753
148 DADDY SANG BASS                        BCG_ID_10348 Polygram Publishing, Inc.             EU0000088125; RE0000723367;
                                                                                              EP0000377413; RE0000750614
149 DARE YOU TO MOVE (I DARE YOU TO        BCG_ID_12490 Capitol CMG, Inc.                     PA0001044236
    MOVE)
150 DE DO DO DO, DE DA DA DA               BCG_ID_10428 Songs of Universal, Inc.              PA0000089745
151 DEACON BLUES                           BCG_ID_10728 Universal Music Corp.                 EU0000811348; RE0000910217;
                                                                                              PA0000003182
152 DEMONS                                 BCG_ID_11227 Songs of Universal, Inc.              PA0001796478
153 DESERT ROSE                            BCG_ID_11410 Songs of Universal, Inc.              PA0000976583; PA0001038417;
                                                                                              PA0001074378
154 DESOLATION ROW                         BCG_ID_10157 Songs of Universal, Inc.              EU0000905799; RE0000647455
155 DISTURBIA                              BCG_ID_11286 Songs of Universal, Inc.; Universal   PA0001692669
                                                        Music Corp.
156 DO IT AGAIN                            BCG_ID_11007 Universal Music Corp.                 EU0000353004; RE0000823108
157 DO WAH DIDDY DIDDY                     BCG_ID_11478 Polygram Publishing, Inc.             EU0000796084; RE0000529632;
                                                                                              EP0000193467; RE0000585084
158 DOG DAYS ARE OVER                      BCG_ID_10372 Polygram Publishing, Inc.             PA0001892802
159 DON'T CRY FOR ME ARGENTINA             BCG_ID_10512 Universal Music Corp.                 EF0000041481; RE0000891073
160 DON'T MIND                             BCG_ID_11450 Songs of Universal, Inc.; Universal   PA0002047004; PA0002048732
                                                        Music - Z Tunes LLC
161 DON'T STAND SO CLOSE TO ME             BCG_ID_10813 Songs of Universal, Inc.              PA0000089740
162 DON'T STAY                             BCG_ID_10094 Universal Music - Z Tunes LLC         PA0001256411
163 DON'T STOP                             BCG_ID_10097 Universal Music - MGB NA LLC          EU0000713074; RE0000904499;
                                                                                              EP0000373131
164 DON'T WORRY BABY                       BCG_ID_11058 Universal Music Corp.; Universal      EU0000818195; RE0000604378;
                                                        Music - MGB NA LLC                    RE0000574344
165 DRIFT AWAY                             BCG_ID_10692 Universal Music Corp.                 EP0000312071; PA0000790342;
                                                                                              EU0000331792; PAu002121140;
                                                                                              RE0000816855
166 EASIER TO RUN                          BCG_ID_10209 Universal Music - Z Tunes LLC         PA0001256414
167 ENGLISHMAN IN NEW YORK                 BCG_ID_10529 Songs of Universal, Inc.              PA0000351652; PA0001038425
168 EVER FALLEN IN LOVE WITH SOMEONE       BCG_ID_10300 Universal Music - MGB NA LLC          PA0000067070
    YOU SHOULDN'T'VE
169 EVERGLOW                               BCG_ID_11657 Universal Music - MGB NA LLC          PA0002031153
170 EVERY BREATH YOU TAKE                  BCG_ID_10283 Songs of Universal, Inc.              PA0000201652; PA0001038430
171 EVERY GRAIN OF SAND                    BCG_ID_10780 Songs of Universal, Inc.              PAu000237620; PA0000115557
172 EVERY LITTLE THING SHE DOES IS MAGIC   BCG_ID_10491 Songs of Universal, Inc.              PA0000127302
173 EVERY TEARDROP IS A WATERFALL          BCG_ID_11453 Universal Music - MGB NA LLC;         PA0001766995
                                                        Universal Music Corp.
174 EVERYWHERE                             BCG_ID_10648 Universal Music - MGB NA LLC          PAu000853444; PA0000332445


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    Title                               BCGID        Plaintiff                             Registration No.
175 EYE IN THE SKY                      BCG_ID_10123 Universal Music - MGB NA LLC          PA0000144130
176 FACE DOWN                           BCG_ID_10009 Songs of Universal, Inc.              PA0001376457
177 FAINT                               BCG_ID_10212 Universal Music - Z Tunes LLC         PA0001256417
178 FATHER OF MINE                      BCG_ID_10899 Songs of Universal, Inc.; Universal   PA0000873792
                                                     Music Corp.
179 FERRY 'CROSS THE MERSEY             BCG_ID_12022 Polygram Publishing, Inc.             EFO000104733; RE0000573321
180 FIELDS OF GOLD                      BCG_ID_10445 Songs of Universal, Inc.              PA0000618389; PA0001038420
181 FIREFLIES                           BCG_ID_10934 Universal Music Corp.                 PA0001692976
182 FIX YOU                             BCG_ID_10963 Universal Music - MGB NA LLC          PA0001700422
183 FLAVOR OF THE WEEK                  BCG_ID_10932 Universal Music - MGB NA LLC          PA0000981396
184 FLY                                 BCG_ID_11537 Songs of Universal, Inc.              PA0001745306
185 FOR THE FIRST TIME                  BCG_ID_10186 Universal Music - Z Tunes LLC         PA0001746223
186 FOR THE GOOD TIMES                  BCG_ID_10765 Universal Music - MGB NA LLC          EP0000248830; RE0000718330
187 FOREVER                             BCG_ID_11328 Songs of Universal, Inc.; Universal   PA0001677037
                                                     Music Corp.
188 FORGOTTEN                           BCG_ID_10775 Universal Music - Z Tunes LLC         PA0001092515
189 FRAGILE                             BCG_ID_10791 Songs of Universal, Inc.              PA0000351655; PA0001038440
190 FREE BIRD                           BCG_ID_11005 Songs of Universal, Inc.              EU0000450840; RE0000838872;
                                                                                           RE0000852176
191 FRESH PRINCE OF BEL-AIR             BCG_ID_10906 Universal Music - Z Tunes LLC         PAu001887849
192 FRIDAY I'M IN LOVE                  BCG_ID_10026 Universal Music - MGB NA LLC          PA0001073351
193 FRIENDS                             BCG_ID_12502 Capitol CMG, Inc.                     PA0000154225
194 FRIENDS IN LOW PLACES               BCG_ID_11278 Universal Music - MGB NA LLC          PA0000485587
195 FROM THE BOTTOM OF MY BROKEN        BCG_ID_10391 Universal Music - Z Tunes LLC         PA0000932241
    HEART
196 FROM THE INSIDE                     BCG_ID_10531 Universal Music - Z Tunes LLC         PA0001256421
197 FUN, FUN, FUN                       BCG_ID_10315 Universal Music Corp.                 EU0000807824; RE0000574318
198 GIMME SOME LOVIN'                   BCG_ID_11321 Polygram Publishing, Inc.             EF0000031746; RE0000657899
199 GIMME THREE STEPS                   BCG_ID_11110 Songs of Universal, Inc.              EU0000448562; RE0000851733
200 GIRLS JUST WANNA HAVE FUN           BCG_ID_11979 Universal Music - MGB NA LLC          PA0000532922
201 GIVEN UP                            BCG_ID_10918 Universal Music - Z Tunes LLC         PA0001167570; PA0001602906
202 GOD MUST HAVE SPENT A LITTLE MORE   BCG_ID_10998 Songs of Universal, Inc.              PA0000982175
    TIME ON YOU
203 GOD OF WONDERS                      BCG_ID_12506 Capitol CMG, Inc.; Universal Music - Z PA0001305795
                                                     Tunes LLC
204 GOD ONLY KNOWS                      BCG_ID_10340 Universal Music Corp.                  EU0000948189; RE0000662431
205 GOD SAVE THE QUEEN (NO FUTURE)      BCG_ID_11980 Universal Music - MGB NA LLC           PAu001125349
206 GOOD GOOD FATHER                    BCG_ID_12509 Capitol CMG, Inc.                      PA0002296837
207 GOOD VIBRATIONS                     BCG_ID_11044 Universal Music Corp.                  EU0000964030; RE0000654512
208 GOODBYE YELLOW BRICK ROAD           BCG_ID_11236 Polygram Publishing, Inc.              EFO000170947; RE0000838312
209 GOODNESS OF GOD                     BCG_ID_12327 Capitol CMG, Inc.                      PA0002394586; PA0002186334
210 GOTTA SERVE SOMEBODY                BCG_ID_10479 Songs of Universal, Inc.               PAu000110766; PAu000137092
211 GRANDMA'S HANDS                     BCG_ID_10544 Songs of Universal, Inc.               EU0000243847; RE0000827149
212 GREAT IS THE LORD                   BCG_ID_12512 Capitol CMG, Inc.                      PA0000158291
213 GREEN EYES                          BCG_ID_11865 Universal Music - MGB NA LLC           PA0001073305
214 GYPSYS, TRAMPS AND THIEVES          BCG_ID_10567 Universal Music - MGB NA LLC           EU0000271991; RE0000728553
215 HALL OF FAME                        BCG_ID_11283 Universal Music - Z Tunes LLC          PA0001828622
216 HARD TO SAY I'M SORRY               BCG_ID_11302 Universal Music - MGB NA LLC           PA0000142242; PA0000150388
217 HARDER TO BREATHE                   BCG_ID_10740 Universal Music - MGB NA LLC           PA0001073084
218 HATE THAT I LOVE YOU                BCG_ID_11408 Universal Music - Z Tunes LLC          PA0001641335
219 HAVE A LITTLE FAITH IN ME           BCG_ID_10415 Universal Music - MGB NA LLC           PA0000343117
220 HE IS EXALTED                       BCG_ID_12518 Capitol CMG, Inc.                      PA0000296457
221 HE REIGNS                           BCG_ID_12519 Capitol CMG, Inc.                      PA0001226974
222 HELLO AGAIN                         BCG_ID_10602 Songs of Universal, Inc.; Universal    PAu000193778; PA0000506680
                                                     Music Corp.



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    Title                                  BCGID        Plaintiff                             Registration No.
223 HELP ME RHONDA                         BCG_ID_10832 Universal Music Corp.                 EU0000868745; RE0000610558;
                                                                                              PAu002079506
224 HEMORRHAGE (IN MY HANDS)               BCG_ID_10013 Polygram Publishing, Inc.             PA0001025282; PA0001103603
225 HERE                                   BCG_ID_11282 Songs of Universal, Inc.; Universal   PA0002049195
                                                        Music Corp.
226 HERE WITHOUT YOU                       BCG_ID_11131 Songs of Universal, Inc.              PA0001120571
227 HERE'S MY HEART                        BCG_ID_12523 Capitol CMG, Inc.                     PA0001839539
228 HIGHWAY 61 REVISITED                   BCG_ID_10326 Songs of Universal, Inc.              EU0000903131; RE0000647447
229 HOLD ON LOOSELY                        BCG_ID_11384 Universal Music - MGB NA LLC          PA0000106829
230 HOUSE AT POOH CORNER                   BCG_ID_10894 Universal Music Corp.                 EU0000104835; RE0000749927
231 HOW GREAT IS OUR GOD                   BCG_ID_12324 Capitol CMG, Inc.                     PA0001299530
232 HOW SOON IS NOW                        BCG_ID_11641 Polygram Publishing, Inc.             PA0000243097
233 HURRICANE                              BCG_ID_10639 Songs of Universal, Inc.              EU0000613348; EU0000633490
234 HURRICANE                              BCG_ID_10219 Universal Music - Z Tunes LLC         PA0002076980
235 I AM NOT ALONE                         BCG_ID_12532 Capitol CMG, Inc.                     PA0001903579
236 I AM WOMAN                             BCG_ID_11113 Universal Music Corp.                 EU0000264747; RE0000799367
237 I AM...I SAID                          BCG_ID_10146 Songs of Universal, Inc.              EU0000239274; RE0000797642
238 I BELIEVE I CAN FLY                    BCG_ID_10708 Universal Music - Z Tunes LLC         PA0000848248
239 I BET MY LIFE                          BCG_ID_10596 Songs of Universal, Inc.              PA0001938182; PA0001999963
240 I CAN LOVE YOU BETTER                  BCG_ID_11827 Polygram Publishing, Inc.             PA0000545908
241 I CAN'T MAKE YOU LOVE ME               BCG_ID_11312 Universal Music Corp.; Universal      PA0000535292
                                                        Music - MGB NA LLC
242 I CAN'T STAND THE RAIN                 BCG_ID_10836 Universal Music Corp.                  EU0000420732; RE0000837101;
                                                                                               PAu001165939
243 I DON'T KNOW HOW TO LOVE HIM           BCG_ID_10590 Universal Music Corp.                  EU0000219295; RE0000778056
244 I GET AROUND                           BCG_ID_10816 Universal Music Corp.                  EU0000821071; RE0000574324;
                                                                                               PAu002079503
245 I HATE MYSELF FOR LOVING YOU           BCG_ID_11121 Songs of Universal, Inc.; Polygram     PA0000391570; PA0000419420;
                                                        Publishing, Inc.                       PAu001029900
246 I LOVE THE WAY YOU LOVE ME             BCG_ID_11726 Universal Music - MGB NA LLC           PAu001650145; PA0000713657
247 I MISS YOU                             BCG_ID_11276 Universal Music Corp.                  PA0001243932
248 I NEED YOU                             BCG_ID_12537 Capitol CMG, Inc.                      PA0000991416
249 I STAND ALONE                          BCG_ID_10683 Universal Music Corp.                  PA0001227288; PA0001212305
250 I WANT CRAZY                           BCG_ID_11490 Songs of Universal, Inc.               PA0001856536
251 I WILL BE HERE                         BCG_ID_12539 Capitol CMG, Inc.; Universal Music - Z PA0000454569
                                                        Tunes LLC
252 I WILL RISE                            BCG_ID_12325 Capitol CMG, Inc.                      PA0001623041
253 I WILL SURVIVE                         BCG_ID_11222 Polygram Publishing, Inc.              PAu000047934; PAu000129011;
                                                                                               PA0000041104
254 I WILL WAIT                            BCG_ID_10128 Polygram Publishing, Inc.              PA0001818830
255 I WON'T DANCE                          BCG_ID_11688 Polygram Publishing, Inc.              EP0000046848; R00000291379;
                                                                                               R00000291158
256 I'LL NEVER BREAK YOUR HEART            BCG_ID_10751 Universal Music - Z Tunes LLC          PA0000859260; PA0000949897
257 I'LL NEVER SMILE AGAIN                 BCG_ID_10990 Universal Music Corp.                  EU0000202771; R00000392686
258 I'M A BELIEVER                         BCG_ID_11233 Songs of Universal, Inc.               EP0000229124; RE0000653597;
                                                                                               EU0000968474; RE0000653692
259 I'M N LUV (WIT A STRIPPER) FEATURING   BCG_ID_11492 Universal Music - Z Tunes LLC          PA0001396315
    MIKE JONES
260 IF I EVER LOSE MY FAITH IN YOU         BCG_ID_10336 Songs of Universal, Inc.              PA0000618388; PA0001038452
261 IF YOU LEAVE ME NOW                    BCG_ID_11270 Universal Music - MGB NA LLC          EU0000694744; RE0000904428
262 IN MY PLACE                            BCG_ID_10975 Universal Music - MGB NA LLC          PA0001073301
263 IN THE END                             BCG_ID_10377 Universal Music - Z Tunes LLC         PA0001092513
264 INBETWEEN DAYS                         BCG_ID_10733 Universal Music - MGB NA LLC          PA0000279383
265 INDESCRIBABLE                          BCG_ID_12547 Capitol CMG, Inc.                     PA0001299529
266 IRIDESCENT                             BCG_ID_10070 Universal Music - Z Tunes LLC         PA0001725626



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    Title                                  BCGID        Plaintiff                          Registration No.
267 IT'S ALL COMING BACK TO ME NOW         BCG_ID_10140 Polygram Publishing, Inc.          PAu001953216; PA0000787517
268 IT'S ALL OVER NOW, BABY BLUE           BCG_ID_10465 Songs of Universal, Inc.           EU0000874587; RE0000647437;
                                                                                           EP0000202991; RE0000647469
269 IT'S ALRIGHT, MA (I'M ONLY BLEEDING)   BCG_ID_10431 Songs of Universal, Inc.           EU0000874591; RE0000647441;
                                                                                           EP0000202990; RE0000647468;
                                                                                           EP0000223904; RE0000684773
270 IT'S TIME                              BCG_ID_10504 Songs of Universal, Inc.           PA0001796482
271 JESUS MESSIAH                          BCG_ID_12553 Capitol CMG, Inc.                  PA0001623039
272 JOKERMAN                               BCG_ID_11771 Songs of Universal, Inc.           PAu000531924; PA0000191286
273 JOY TO THE WORLD                       BCG_ID_10477 Universal Music Corp.              EU0000218428; RE0000775044;
                                                                                           EP0000284915; RE0000643916
274 JUST LIKE A WOMAN                      BCG_ID_10458 Songs of Universal, Inc.           EU0000930913; RE0000684782;
                                                                                           EP0000221661; RE0000684766
275 JUST LIKE HEAVEN                       BCG_ID_10305 Universal Music - MGB NA LLC       PA0000344486
276 JUST LIKE TOM THUMB'S BLUES            BCG_ID_10084 Songs of Universal, Inc.           EU0000903129; RE0000647445
277 JUST ONE LOOK                          BCG_ID_11318 Universal Music - MGB NA LLC       EU0000761806; RE0000530731
278 KID CHARLEMAGNE                        BCG_ID_10645 Universal Music Corp.              EU0000679291; RE0000891480
279 KING OF PAIN                           BCG_ID_10833 Songs of Universal, Inc.           PA0000201653; PA0001038431
280 KINGS AND QUEENS                       BCG_ID_11039 Universal Music - Z Tunes LLC      PA0002076506
281 KRYPTONITE                             BCG_ID_10585 Songs of Universal, Inc.           PA0000999801
282 LAMB OF GOD                            BCG_ID_12558 Capitol CMG, Inc.                  PA0000296457
283 LATCH                                  BCG_ID_11366 Polygram Publishing, Inc.          PA0001916095
284 LEAN ON ME                             BCG_ID_10756 Songs of Universal, Inc.           EP0000304954; RE0000832582
285 LEAVE OUT ALL THE REST                 BCG_ID_10331 Universal Music - Z Tunes LLC      PA0001167571
286 LET YOU DOWN                           BCG_ID_12565 Capitol CMG, Inc.                  PA0002222190
287 LET'S FACE THE MUSIC AND DANCE         BCG_ID_10197 Universal Music Corp.              EU0000105690; R00000301275;
                                                                                           EP0000052756; R00000313962
288 LET'S GET TOGETHER                     BCG_ID_11073 Universal Music Corp.              EU0000778381; RE0000518243
289 LET'S STAY TOGETHER                    BCG_ID_11251 Universal Music Corp.              EU0000287623; RE0000799562
290 LETTERS FROM HOME                      BCG_ID_11894 Universal Music - MGB NA LLC       PA0001159374; PA0001160515;
                                                                                           PA0001166509
291 LIFE IS A HIGHWAY                      BCG_ID_10653 Universal Music Corp.              PA0000683569
292 LIGHTNING CRASHES                      BCG_ID_10168 Universal Music - MGB NA LLC       PA0000720664
293 LIKE A ROLLING STONE                   BCG_ID_10513 Songs of Universal, Inc.           EP0000205564; RE0000640124
294 LITTLE DEUCE COUPE                     BCG_ID_10837 Universal Music Corp.; Universal   EU0000783375; RE0000575772;
                                                        Music - MGB NA LLC                 EU0000783375; RE0000575773;
                                                                                           EU0000783375; RE0000525573
295 LITTLE LIES                            BCG_ID_10096 Universal Music - MGB NA LLC       PA0000332449; PA0000391430
296 LITTLE LION MAN                        BCG_ID_11067 Polygram Publishing, Inc.          PA0001932483
297 LONG COOL WOMAN IN A BLACK DRESS       BCG_ID_11293 Polygram Publishing, Inc.          EU0000349588; RE0000825602
298 LORD, I NEED YOU                       BCG_ID_12571 Capitol CMG, Inc.                  PA0001734765
299 LOVE IS ALL AROUND                     BCG_ID_10240 Polygram Publishing, Inc.          EFO000124632; RE0000698430
300 LOVE MINUS ZERO/NO LIMIT               BCG_ID_10799 Songs of Universal, Inc.           EU0000874590; RE0000647440;
                                                                                           EP0000202992; RE0000647470
301 LOVESONG                             BCG_ID_10948 Universal Music - MGB NA LLC         PA0001073355
302 LUCKENBACH TEXAS (BACK TO THE BASICS BCG_ID_10373 Polygram Publishing, Inc.            EP0000367087; RE0000909980
    OF LOVE)
303 LYING FROM YOU                       BCG_ID_10115 Universal Music - Z Tunes LLC        PA0001256415
304 MACARTHUR PARK                       BCG_ID_10627 Polygram Publishing, Inc.            EU0000049691; RE0000723251;
305 MAD                                  BCG_ID_11434 Universal Music - Z Tunes LLC        PA0001395687
306 MAGIC                                BCG_ID_11116 Universal Music - MGB NA LLC         PA0001916029
307 MAGIC CARPET RIDE                    BCG_ID_10750 Songs of Universal, Inc.             EU0000083717; RE0000730472
308 MASTERS OF WAR                       BCG_ID_10665 Songs of Universal, Inc.             EU0000765995; RE0000529553;
                                                                                           EP0000178108; RE0000529581
309 MEANT TO LIVE                          BCG_ID_12574 Capitol CMG, Inc.                  PA0001227016



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    Title                             BCGID        Plaintiff                             Registration No.
310 MERRY CHRISTMAS DARLING           BCG_ID_10442 Universal Music Corp.                 EP0000281386; RE0000774636;
                                                                                         PA0000856789
311 MESSAGE IN A BOTTLE               BCG_ID_10241 Songs of Universal, Inc.              PA0000069032
312 MIDNIGHT                          BCG_ID_11937 Universal Music - MGB NA LLC          PA0001916020
313 MIDNIGHT TRAIN TO GEORGIA         BCG_ID_10078 Polygram Publishing, Inc.             EU0000287454; RE0000802289;
                                                                                         EP0000311363; RE0000835032
314 MILKSHAKE                         BCG_ID_11290 Universal Music - MGB NA LLC          PA0001158349; PA0001158583
315 MISERY                            BCG_ID_11315 Universal Music - MGB NA LLC          PA0001726265
316 MISS INDEPENDENT                  BCG_ID_11296 Universal Music - Z Tunes LLC         PA0001395688
317 MONA LISAS AND MAD HATTERS        BCG_ID_11645 Polygram Publishing, Inc.             EF0000157243; RE0000822534
318 MONDAY MONDAY                     BCG_ID_10328 Universal Music Corp.                 EU0000922884; RE0000705550;
                                                                                         EP0000220921; RE0000705546
319 MOONLIGHT IN VERMONT              BCG_ID_11622 Universal Music Corp.                 EU0000395533; R00000515635
320 MOVE ALONG                        BCG_ID_10234 Universal Music - MGB NA LLC          PA0001203496
321 MR. TAMBOURINE MAN                BCG_ID_10114 Songs of Universal, Inc.              EP0000202671; RE0000647466;
                                                                                         EU0000848210; RE0000588389
322 MY BACK PAGES                     BCG_ID_10298 Songs of Universal, Inc.              EU0000848264; RE0000588408;
                                                                                         EP0000195713; RE0000588391
323 MY BEST FRIEND                    BCG_ID_11554 Universal Music - MGB NA LLC          PA0000964541
324 MY DECEMBER                       BCG_ID_10156 Universal Music - Z Tunes LLC         PA0001054030
325 MY OLD SCHOOL                     BCG_ID_10034 Universal Music Corp.                 EU0000416546; RE0000837422
326 NEVER BE ALONE                    BCG_ID_11481 Songs of Universal, Inc.; Universal   PA0001984359
                                                   Music Corp.
327 NEVER BEEN TO SPAIN               BCG_ID_10113 Universal Music Corp.                 EU0000218427; RE0000775043
328 NEW DIVIDE                        BCG_ID_10855 Universal Music - Z Tunes LLC         PA0001677173
329 NEXT TO ME                        BCG_ID_11307 Songs of Universal, Inc.              PA0002396886
330 NO AIR                            BCG_ID_11305 Universal Music - MGB NA LLC;         PA0001653567
                                                   Universal Music Corp.
331 NO DIGGITY                        BCG_ID_11255 Universal Music - Z Tunes LLC         PA0000839312
332 NO LIGHT, NO LIGHT                BCG_ID_10251 Polygram Publishing, Inc.             PA0001777616
333 NO MORE SORROW                    BCG_ID_10072 Universal Music - Z Tunes LLC         PA0001602921; PA0001167576
334 NO ONE                            BCG_ID_11322 Universal Music Corp.                 PA0001590102
335 NOBODY'S LISTENING                BCG_ID_11092 Universal Music - Z Tunes LLC         PA0001256420
336 NOT DARK YET                      BCG_ID_10892 Songs of Universal, Inc.              PAu002179480
337 NOTHING FROM NOTHING              BCG_ID_11313 Universal Music Corp.                 EU0000510833; RE0000855515;
                                                                                         PAu002434356
338 NUMB                              BCG_ID_11034 Universal Music - Z Tunes LLC         PA0001256412
339 OCEAN AVENUE                      BCG_ID_10210 Universal Music - MGB NA LLC          PA0001158187
340 ON TOP OF THE WORLD               BCG_ID_10861 Songs of Universal, Inc.              PA0001796480
341 ONE DAY I'LL FLY AWAY             BCG_ID_11666 Universal Music Corp.                 PA0000081908
342 ONE STEP CLOSER                   BCG_ID_10317 Universal Music - Z Tunes LLC         PA0001092507; PA0001237305
343 ONE TIN SOLDIER                   BCG_ID_10188 Songs of Universal, Inc.              EU0000128013; RE0000755132
344 ONE TOKE OVER THE LINE            BCG_ID_11012 Universal Music - MGB NA LLC          EU0000201193; RE0000780432
345 ONLY HOPE                         BCG_ID_12592 Capitol CMG, Inc.                     PA0000943389
346 OPEN YOUR EYES                    BCG_ID_10893 Polygram Publishing, Inc.             PA0001990273
347 OUR DAY WILL COME                 BCG_ID_11585 Universal Music Corp.                 EU0000751240; RE0000502027;
                                                                                         RE0000463672
348 OUR GOD                           BCG_ID_12595 Capitol CMG, Inc.                     PA0001730879
349 OUR LIPS ARE SEALED               BCG_ID_11389 Universal Music - MGB NA LLC          PAu000299968; PA0000123694
350 PAPERCUT                          BCG_ID_11075 Universal Music - Z Tunes LLC         PA0001092506
351 PARADISE                          BCG_ID_10480 Universal Music - MGB NA LLC          PA0001766985
352 PARENTS JUST DON'T UNDERSTAND     BCG_ID_11597 Universal Music - Z Tunes LLC         PA0000381782
353 PEOPLE NEED THE LORD              BCG_ID_12603 Capitol CMG, Inc.                     PA0000212604
354 POINTS OF AUTHORITY               BCG_ID_10259 Universal Music - Z Tunes LLC         PA0001092509




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    Title                            BCGID        Plaintiff                             Registration No.
355 POISON                           BCG_ID_10847 Songs of Universal, Inc.; Polygram    PA0000472703; PA0000445681
                                                  Publishing, Inc.
356 POSITIVELY 4TH STREET            BCG_ID_10161 Songs of Universal, Inc.              EU0000903133; RE0000647449
357 POSSUM KINGDOM                   BCG_ID_10353 Songs of Universal, Inc.              PA0000730720
358 POWERLESS                        BCG_ID_11780 Universal Music - Z Tunes LLC         PA0001805751
359 PRAISE YOU                       BCG_ID_11226 Polygram Publishing, Inc.             PA0000968847
360 PRETTY GIRL ROCK                 BCG_ID_11473 Universal Music - Z Tunes LLC         PA0001784138
361 PUTTIN' ON THE RITZ              BCG_ID_10040 Universal Music Corp.                 E0000696554; R00000155144;
                                                                                        EP0000011281; R00000183130
362 RADIOACTIVE                      BCG_ID_11224 Songs of Universal, Inc.              PA0001796477
363 RAINY DAYS AND MONDAYS           BCG_ID_10190 Universal Music Corp.                 EU0000222638; RE0000775443;
                                                                                        PAu002237895; EP0000300297;
                                                                                        PA0000864726
364 RED, RED WINE                    BCG_ID_10782 Songs of Universal, Inc.              RE0000653689
365 REDBONE                          BCG_ID_11239 Songs of Universal, Inc.; Universal   PA0002063056; PA0002082553
                                                  Music Corp.
366 REELING IN THE YEARS             BCG_ID_10611 Universal Music Corp.                 EU0000353008; RE0000823112
367 REMEMBER THE NAME                BCG_ID_10288 Universal Music - Z Tunes LLC         PA0001163444
368 REMEMBERING SUNDAY               BCG_ID_10384 Songs of Universal, Inc.              PA0001675980
369 RENEGADES                        BCG_ID_11272 Songs of Universal, Inc.              PA0001995174
370 REUNITED                         BCG_ID_11319 Polygram Publishing, Inc.             PAu000023138; PA0000039131
371 RIDE LIKE THE WIND               BCG_ID_10700 Universal Music - MGB NA LLC          PA0000071337
372 RIKKI DON'T LOSE THAT NUMBER     BCG_ID_10741 Universal Music Corp.                 EU0000469054; RE0000854814
373 ROCKY MOUNTAIN WAY               BCG_ID_10720 Songs of Universal, Inc.              EU0000416549; RE0000837425
374 ROXANNE                          BCG_ID_11089 Songs of Universal, Inc.              PA0000052671
375 RUN                              BCG_ID_11616 Polygram Publishing, Inc.             PA0001994133
376 RUNAWAY                          BCG_ID_11115 Universal Music - Z Tunes LLC         PA0001092511
377 RUNAWAY                          BCG_ID_10996 Polygram Publishing, Inc.             PA0000707154
378 RUSSIAN ROULETTE                 BCG_ID_11494 Universal Music - Z Tunes LLC         PA0001704500
379 SAD                              BCG_ID_11992 Universal Music - MGB NA LLC          PA0001810801
380 SAILING                          BCG_ID_10399 Universal Music - MGB NA LLC          PA0000071338
381 SAN FRANCISCO BE SURE TO WEAR    BCG_ID_10558 Universal Music Corp.                 EU0000995820; RE0000687597
    FLOWERS IN YOUR HAIR
382 SANTERIA                         BCG_ID_10931 Songs of Universal, Inc.              PA0000813737
383 SAY SOMETHING                    BCG_ID_11223 Songs of Universal, Inc.              PA0001846423; PA0001397885
384 SCARS TO YOUR BEAUTIFUL          BCG_ID_11229 Songs of Universal, Inc.              PA0002100489
385 SECRET                           BCG_ID_11759 Universal Music - MGB NA LLC          PA0001073092
386 SHAMBALA                         BCG_ID_10099 Songs of Universal, Inc.              EU0000398898; RE0000836928
387 SHAPE OF MY HEART                BCG_ID_11394 Songs of Universal, Inc.              PA0000618387; PA0001038451
388 SHE BELIEVES IN ME               BCG_ID_10522 Polygram Publishing, Inc.             EP0000368480; RE0000909991;
                                                                                        PA0000066693
389 SHE BELONGS TO ME                BCG_ID_12040 Songs of Universal, Inc.              EU0000874585; RE0000647435;
                                                                                        EP0000202996; RE0000647474
390 SHE WILL BE LOVED                BCG_ID_10208 Universal Music - MGB NA LLC          PA0001073087
391 SHELTER FROM THE STORM           BCG_ID_10446 Songs of Universal, Inc.              EU0000530721; RE0000862517
392 SHIVER                           BCG_ID_11879 Universal Music - MGB NA LLC          PA0000981357
393 SIMPLE MAN                       BCG_ID_10878 Songs of Universal, Inc.              EU0000448563; RE0000844239;
                                                                                        RE0000851734
394 SIMPLE TWIST OF FATE             BCG_ID_10734 Songs of Universal, Inc.              EU0000530720; RE0000862516
395 SMOKE GETS IN YOUR EYES          BCG_ID_10435 Polygram Publishing, Inc.             EP0000039116; R00000265488;
                                                                                        R0000026554
396 SO SICK                          BCG_ID_11301 Universal Music - Z Tunes LLC         PA0001163977
397 SOLITARY MAN                     BCG_ID_11090 Songs of Universal, Inc.              PA0000042999; EP0000215760;
                                                                                        RE0000653594
398 SOMEBODY TO LOVE                 BCG_ID_11260 Universal Music Corp.                 EU0000922524; RE0000846415;
                                                                                        EP0000228384; RE0000654121


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    Title                             BCGID        Plaintiff                             Registration No.
399 SOMETHING JUST LIKE THIS          BCG_ID_11256 Universal Music - MGB NA LLC          PA0002083153
400 SOMEWHERE I BELONG                BCG_ID_10951 Universal Music - Z Tunes LLC         PA0001256410
401 SOMEWHERE ONLY WE KNOW            BCG_ID_10160 Universal Music - MGB NA LLC          PA0001160739
402 SONG SUNG BLUE                    BCG_ID_10886 Songs of Universal, Inc.              EU0000322568; RE0000813919
403 SONGBIRD                          BCG_ID_10261 Universal Music - MGB NA LLC          A00000885251; EU0000772678
404 SOUL MAN                          BCG_ID_11377 Universal Music Corp.                 EU0000016237; RE0000688918
405 SOUND OF DA POLICE                BCG_ID_11436 Universal Music - Z Tunes LLC         PA0000711682
406 SPIRITS IN THE MATERIAL WORLD     BCG_ID_10797 Songs of Universal, Inc.              PA0000128668
407 STEP INTO CHRISTMAS               BCG_ID_11452 Polygram Publishing, Inc.             EP0000319570; RE0000836136;
                                                                                         EFO000167890; RE0000838135
408 STRAWBERRY WINE                   BCG_ID_11348 Songs of Universal, Inc.; Universal   PA0000840407
                                                   Music - Z Tunes LLC
409 SUBTERRANEAN HOMESICK BLUES       BCG_ID_10090 Songs of Universal, Inc.              EU0000874584; RE0000647434;
                                                                                         EP0000201208; RE0000647465
410 SUCKER FOR PAIN                   BCG_ID_11280 Songs of Universal, Inc.              PA0002076970; PA0002078398
411 SUGAR MAN                         BCG_ID_11563 Songs of Universal, Inc.              EU0000133445; RE0000767053
412 SUMMER WINE                       BCG_ID_10636 Universal Music Corp.                 EU0000951758; RE0000640586
413 SUNDAY MORNING                    BCG_ID_10505 Universal Music - MGB NA LLC          PA0001073091
414 SWEET CAROLINE                    BCG_ID_10101 Songs of Universal, Inc.              EU0000121797; RE0000748767;
                                                                                         PA0000043001
415 SWEET CREATURE                    BCG_ID_10382 Polygram Publishing, Inc.             PA0002087493
416 SWEET HOME ALABAMA                BCG_ID_10889 Songs of Universal, Inc.; Universal   EU0000511375; RE0000862377;
                                                   Music Corp.                           EU0000511375; RE0000857056
417 SWING, SWING                      BCG_ID_10549 Universal Music - MGB NA LLC          PA0001203496
418 SYNCHRONICITY II                  BCG_ID_10088 Songs of Universal, Inc.              PA0000201651; PA0001038429
419 TAKE A BOW                        BCG_ID_11304 Universal Music - Z Tunes LLC         PA0001692696
420 TAKE ME OUT                       BCG_ID_11108 Polygram Publishing, Inc.             PA0001233512
421 TALK                              BCG_ID_11983 Universal Music - MGB NA LLC          PA0001700311
422 TALK                              BCG_ID_11235 Polygram Publishing, Inc.             PA0002190909
423 TANGLED UP IN BLUE                BCG_ID_11036 Songs of Universal, Inc.              EU0000529117; RE0000862509
424 TEARDROP                          BCG_ID_11485 Polygram Publishing, Inc.             PA0000926996
425 TENNESSEE WHISKEY                 BCG_ID_11228 Polygram Publishing, Inc.             PAu000307891; PA0000148061;
                                                                                         PA0000211136
426 THAT SMELL                        BCG_ID_10853 Songs of Universal, Inc.              EU0000842824; RE0000910305;
                                                                                         PA0000111507
427 THE BAD TOUCH                     BCG_ID_10533 Polygram Publishing, Inc.             PA0001049232
428 THE BOYS ARE BACK IN TOWN         BCG_ID_10828 Polygram Publishing, Inc.             EU0000674600; RE0000891463
429 THE CATALYST                      BCG_ID_10888 Universal Music - Z Tunes LLC         PA0001725628
430 THE CAVE                          BCG_ID_10532 Polygram Publishing, Inc.             PA0001932476
431 THE CHANGE                        BCG_ID_11801 Universal Music Corp.                 PA0000774761; PA0000776742
432 THE DEVIL WENT DOWN TO GEORGIA    BCG_ID_11261 Songs of Universal, Inc.              PAu000084340
433 THE GRAND ILLUSION                BCG_ID_11901 Universal Music Corp.                 EU0000828643; RE0000910692
434 THE HARDER THEY COME              BCG_ID_11750 Polygram Publishing, Inc.             EU0000388670
435 THE KEEPER OF THE STARS           BCG_ID_11639 Polygram Publishing, Inc.             PA0000692567; PA0000713749;
                                                                                         PAu001898849
436 THE KILL                          BCG_ID_10646 Universal Music - Z Tunes LLC         PA0001630065
437 THE KING OF CARROT FLOWERS PART   BCG_ID_12036 Universal Music - MGB NA LLC          PA0000928784
    ONE
438 THE LOGICAL SONG                  BCG_ID_10164 Universal Music Corp.                 PA0000032060
439 THE LONG BLACK VEIL               BCG_ID_10448 Polygram Publishing, Inc.             EU0000577749; RE0000346323
440 THE SAFETY DANCE                  BCG_ID_10410 Songs of Universal, Inc.; Polygram    PA0000413304; PA0000444999
                                                   Publishing, Inc.
441 THE SAGA BEGINS                   BCG_ID_11896 Songs of Universal, Inc.              PA0000995641
442 THE SALTWATER ROOM                BCG_ID_11895 Universal Music Corp.                 PA0001649308
443 THE SCIENTIST                     BCG_ID_10381 Universal Music - MGB NA LLC          PA0001073303



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    Title                              BCGID        Plaintiff                                Registration No.
444 THE TIMES THEY ARE A-CHANGIN'      BCG_ID_11068 Songs of Universal, Inc.                 EU0000798069; RE0000529575;
                                                                                             EP0000196321; RE0000588437
445 THE TROUBLE WITH LOVE IS           BCG_ID_11684 Songs of Universal, Inc.                 PA0001227298
446 THE WEIGHT                         BCG_ID_11098 Songs of Universal, Inc.                 EU0000049518; RE0000739082;
                                                                                             EP0000258882; RE0000739062
447 THE WORLD'S GREATEST               BCG_ID_10616 Universal Music - Z Tunes LLC            PA0001084039
448 THEME FROM SHAFT                   BCG_ID_11017 Universal Music Corp.                    EU0000259390; RE0000796884;
                                                                                             RE0000801338
449 THESE BOOTS ARE MADE FOR WALKIN'   BCG_ID_10059 Universal Music Corp.                    EU0000915461; RE0000612396
450 THIRTEEN                           BCG_ID_10604 Universal Music Corp.                    EU0000328421; RE0000816224
451 THIS IS WAR                        BCG_ID_10370 Universal Music - Z Tunes LLC            PA0002076510
452 THIS LOVE                          BCG_ID_10792 Universal Music - MGB NA LLC             PA0001073085
453 THUNDER                            BCG_ID_10463 Songs of Universal, Inc.; Universal      PA0002113702
                                                    Music Corp.
454 TINY DANCER                        BCG_ID_11231 Polygram Publishing, Inc.                EU0000283994; RE0000802431
455 TO MAKE YOU FEEL MY LOVE           BCG_ID_10735 Songs of Universal, Inc.                 PAu002178281
456 TOO CLOSE                          BCG_ID_11574 Polygram Publishing, Inc.                PA0001806290
457 TOP OF THE WORLD                   BCG_ID_10134 Universal Music Corp.                    EU0000329403; RE0000817022;
                                                                                             PAu002215502
458 TORN                               BCG_ID_11262 Universal Music - MGB NA LLC;            PA0000836968; PA0000705322
                                                    Polygram Publishing, Inc.
459 TRAPPED IN THE CLOSET (PART 1)     BCG_ID_11808 Universal Music - Z Tunes LLC            PA0001395840
460 UNFAITHFUL                         BCG_ID_11362 Universal Music - Z Tunes LLC            PA0001164749
461 UNINVITED                          BCG_ID_10182 Universal Music Corp.                    PA0000921947
462 VANILLA TWILIGHT                   BCG_ID_10643 Universal Music Corp.                    PA0001692986
463 VINCENT (STARRY, STARRY NIGHT)     BCG_ID_10618 Songs of Universal, Inc.                 EU0000284302; RE0000803733
464 VIOLET HILL                        BCG_ID_11884 Universal Music - MGB NA LLC             PA0001820463
465 VISIONS OF JOHANNA                 BCG_ID_11897 Songs of Universal, Inc.                 EU0000930909; RE0000685898;
                                                                                             EP0000221660; RE0000685899;
                                                                                             EU0000928301; RE0000684775
466 VIVA LA VIDA                       BCG_ID_10394 Universal Music - MGB NA LLC             PA0001820459
467 VOODOO                             BCG_ID_11082 Universal Music Corp.                    PA0000940225
468 WALK THE DINOSAUR                  BCG_ID_10798 Universal Music Corp.                    PA0000415228
469 WALKING ON THE MOON                BCG_ID_10739 Songs of Universal, Inc.                 PA0000069037
470 WANTED                             BCG_ID_11085 Songs of Universal, Inc.                 PA0001777909
471 WARRIOR                            BCG_ID_11245 Songs of Universal, Inc.                 PA0002375231
472 WE GOT THE BEAT                    BCG_ID_10806 Universal Music - MGB NA LLC             PA0000123699; PA0000127864
473 WE'RE NOT GONNA TAKE IT            BCG_ID_10201 Songs of Universal, Inc.                 PA0000226789
474 WE'VE ONLY JUST BEGUN              BCG_ID_10804 Universal Music Corp.                    EU0000169722; RE0000775608
475 WHAT I'VE DONE                     BCG_ID_11074 Universal Music - Z Tunes LLC            PA0001167574; PA0001602911;
                                                                                             PA0001708260
476 WHEN I'M GONE                      BCG_ID_10135 Songs of Universal, Inc.                 PAu002577919; PA0001120566
477 WHITE BLANK PAGE                   BCG_ID_12004 Polygram Publishing, Inc.                PA0001932481
478 WHITE CHRISTMAS                    BCG_ID_10695 Universal Music Corp.                    EU0000238624; R00000435930;
                                                                                             EP0000104340; R00000464105
479 WHO WE ARE                         BCG_ID_11696 Songs of Universal, Inc.                 PA0001934683
480 WHOM SHALL I FEAR (GOD OF ANGEL    BCG_ID_12642 Capitol CMG, Inc.                        PA0001830592
    ARMIES)
481 WICHITA LINEMAN                    BCG_ID_10785 Polygram Publishing, Inc.                EU0000073735; RE0000732681
482 WILL IT GO ROUND IN CIRCLES        BCG_ID_11560 Universal Music Corp.                    EU0000383670; RE0000836544
483 WINDY                              BCG_ID_10609 Universal Music Corp.                    EU0000989067; RE0000687658;
                                                                                             EP0000232781; RE0000687939
484 WITH YOU                           BCG_ID_10758 Universal Music - Z Tunes LLC            PA0001092508
485 WORDS I NEVER SAID                 BCG_ID_10712 Songs of Universal, Inc.; Universal      PA0001739113
                                                    Music - Z Tunes LLC; Universal Music -
                                                    MGB NA LLC


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    Title                               BCGID        Plaintiff                           Registration No.
486 WOULDN'T IT BE NICE                 BCG_ID_10187 Universal Music Corp.               EU0000948191; PAu002079501;
                                                                                         RE0000662433
487 WRAPPED AROUND YOUR FINGER          BCG_ID_10999 Songs of Universal, Inc.            PA0000201655; PA0001038433;
                                                                                         PA0000201654; PA0001038432
488 YELLOW                              BCG_ID_10130 Universal Music - MGB NA LLC        PA0000981360
489 YESTERDAY ONCE MORE                 BCG_ID_10222 Universal Music Corp.               EU0000401698; RE0000872358;
                                                                                         PAu002215503
490 YOU AIN'T GOIN' NOWHERE             BCG_ID_10111 Songs of Universal, Inc.            EU0000018767; RE0000701195
491 YOU ARE NOT ALONE                   BCG_ID_10581 Universal Music - Z Tunes LLC       PA0000789976
492 YOU ARE SO BEAUTIFUL                BCG_ID_10844 Universal Music Corp.               EU0000408125; RE0000837480
493 YOU CAN GET IT IF YOU REALLY WANT   BCG_ID_10845 Polygram Publishing, Inc.           EU0000212983; RE0000778661
494 YOU LIGHT UP MY LIFE                BCG_ID_11486 Polygram Publishing, Inc.           EU0000676281; RE0000891470;
                                                                                         EP0000380330; RE0000910478
495 YOU LOOK SO GOOD IN LOVE            BCG_ID_11445 Universal Music Corp.; Polygram     PAu000502409
                                                     Publishing, Inc.
496 YOU MAKE LOVIN FUN                  BCG_ID_10014 Universal Music - MGB NA LLC        EU0000713071; RE0000904498;
                                                                                         PA0001162955
497 YOU'RE MY BEST FRIEND               BCG_ID_10722 Polygram Publishing, Inc.           EP0000336092; RE0000875578
498 YOU'RE THE INSPIRATION              BCG_ID_11380 Universal Music - MGB NA LLC        PA0000213889; PAu000638574;
                                                                                         PAu000598698
499 YOUR GUARDIAN ANGEL                 BCG_ID_10917 Songs of Universal, Inc.            PA0001376464
500 YOUR SONG                           BCG_ID_11238 Polygram Publishing, Inc.           EFO000142515; RE0000759790;
                                                                                         EU0000183663; RE0000779459




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